          USCA Case #22-7130
                               UNITED STATES COURT OF Filed:
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                                                       APPEALS
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                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
                                               Washington, DC 20001-2866
                                      Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: Cameron et al.

                                      v.                                  Case No: 22-7130
                    District of Columbia


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained    Pro Bono        Appointed (CJA/FPD)          Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)         Intervenor(s)     Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Alexander Cameron                                               Jake Oster

 Benjamin Tan

 Destiny Robinson

 Jonah Angeles

                                                  Counsel Information
Lead Counsel: Scott Michelman

                                                                     Email: smichelman@acludc.org
Direct Phone: ( 202 )      601-4267      Fax: (      )

2nd Counsel:      Arthur B. Spitzer

                                                                     Email: aspitzer@acludc.org
Direct Phone: ( 202 )      601-4266      Fax: (      )
3rd Counsel:

                                                                     Email:
Direct Phone: (        )                 Fax: (      )
Firm Name:        American Civil Liberties Union Foundation of the District of Columbia

Firm Address: 915 15th Street NW, 2nd Floor, Washington D.C. 20005

                                                                     Email: info@acludc.org
Firm Phone: ( 202 )        457-0800      Fax: (      )

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
